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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

RUSSELL PARKER,

       Plaintiff,                                          Case No.: 1:25-cv-02543

v.                                                         Judge John J. Tharp, Jr.

THE PARTNERSHIPS AND                                       Magistrate Judge Heather K. McShain
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

       Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                DEFENDANT
                7                                      Waasmia
                28                                 qicimaoyidian
                29                       SXMURP Autumn Sale Up to 50% off
                49                    MFJESEAA【Fast Delivery Only 7-10 Days】
                50                                   XIN RONG
                56                                  JUKYHEBA
                66                        Sokhug-Prime Big Deal Days 2024
                79                               HomeTrading-US
                80                               CUTEBAGS-US
                84                                    siyan2019
                93                                   BYOIMUD
                94                                Lijinming Store
                96                                CYJMIKHSAA
                97                                     BOOXK
               101                                 WXMHGSDS
               103                                    NIEWTR
               108                               WTXUE CO.Ltd
               112                                 LINNAO Ltd
               114                                      iookaz
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             118                             Hassda
             119                            Cagnkofi
             122                            WHLBF
             123                           VogueAce
             124                          Tinad Biyus
             126                          TAOFULY
             131                          Choose Me
             132                            Uscallm
             133                        simplmasygenix
             134                             Amtdh
             137                             fartey
             139                           YIJIEKAI
             141                            Hemlock
             155                            Uhsinun
             161                             Biysah
             166                         HuaShao LLC
             167                          WNEGSTG
             173                       HXLMSJHSHAAA
             176                           ICV 2024
             178                     Wonderful Life Co. Ltd
             179                             Lroveb
             181                           Aligament
             184                           Nianyouyu
             186                            DkinJom
             187          SHENZHEN SHIMEI HE CUI KEJIYOUXIAN GONGSI
             189                            OJJCXA


DATED: April 29, 2025                      Respectfully submitted,

                                           /s/ Keith A. Vogt
                                           Keith A. Vogt (Bar No. 6207971)
                                           Keith Vogt, Ltd.
                                           33 W. Jackson Blvd., #2W
                                           Chicago, Illinois 60604
                                           Telephone: 312-971-6752
                                           E-mail: keith@vogtip.com

                                           ATTORNEY FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on April 29, 2025 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
